                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:03CR219

UNITED STATES OF AMERICA                  )
                                          )
vs.                                       )                ORDER
                                          )
ANEWA TIARI-EL and LEANDRA SMITH          )
__________________________________________)

        This matter is before the court upon remand from the Fourth Circuit Court of Appeals. In
conformity with the decision of the Fourth Circuit in this case, it is hereby ordered that the
Judgment entered on August 28, 2009 and amended on September 29, 2010 is AMENDED to
order restitution in favor of the IRS in the amount of $1,394,474.67.

                                               Signed: December 6, 2010




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